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 1                                                                    Hon. Marsha J. Pechman
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 6                             UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                         SEATTLE
 8
 9 UNITED STATES OF AMERICA,                          No. CR11-131MJP
10                Plaintiff,
11                  v.                             ORDER OF DISMISSAL
12 DUC THI NGUYEN,
13
                 Defendant.
14
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16
17          This matter comes before the Court upon the notice of the United States for leave
18 to dismiss all pending charges in this matter as to Defendant Duc Thi Nguyen.
19          IT IS HEREBY ORDERED:
20          All pending counts in the above-captioned case as to this Defendant are dismissed,
21 without prejudice. The outstanding warrant shall be quashed.
22          DATED this 2nd day of September, 2016.
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26
                                                     A
                                                     Marsha J. Pechman
                                                     United States District Judge
27
   Presented by:
28 /s/ Sarah Y. Vogel
   SARAH Y. VOGEL
   Assistant United States Attorney
     Order of Dismissal -- 1
     U.S. v. Duc Thi Nguyen; CR11-131MJP
